9:20-cv-01164-MBS   Date Filed 11/30/20   Entry Number 22   Page 1 of 6
9:20-cv-01164-MBS   Date Filed 11/30/20   Entry Number 22   Page 2 of 6
9:20-cv-01164-MBS   Date Filed 11/30/20   Entry Number 22   Page 3 of 6
9:20-cv-01164-MBS   Date Filed 11/30/20   Entry Number 22   Page 4 of 6
9:20-cv-01164-MBS   Date Filed 11/30/20   Entry Number 22   Page 5 of 6
9:20-cv-01164-MBS   Date Filed 11/30/20   Entry Number 22   Page 6 of 6
